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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SECURITIES AND EXCHANGE                   )
COMMISSION,                               )
                                          )
      Plaintiff,                          )
                                          )         CIVIL ACTION FILE
v.                                        )
                                          )         NO. 1:12-CV-04028-SCJ
BILLY WAYNE McCLINTOCK                    )
individually, and dba MSC                 )
HOLDINGS, DIANNE                          )
ALEXANDER aka LINDA                       )
DIANNE ALEXANDER,                         )
                                          )
      Defendants,                         )
                                          )
MSC HOLDINGS USA, LLC,                    )
MSC HOLDINGS, INC., MSC GA                )
HOLDINGS, LLC,                            )
                                          )
      Relief Defendants.                  )

               RECEIVER’S SIXTEENTH INTERIM REPORT

      Jason L. Nohr, the Receiver appointed by this Court by Orders dated

February 11, 2013 and June 9, 2014, files his Sixteenth Interim Report to describe

his progress towards completing the tasks assigned by the Court, including

collecting assets and distributing them to the individuals victimized by the

Defendants’ Ponzi scheme. The Receiver completed a Second Interim Distribution

of funds to defrauded investors and continues his collection efforts in preparation
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for a final distribution and conclusion of the case. To date, the Receiver has sent

disbursement checks to Claimants with Approved Claims in the total amount of

$2,127,017, which represents a total reimbursement rate of 41.63% of those losses.

      On June 1, 2017, the Court approved the Receiver’s Motion to Approve an

Initial, Interim Plan of Distribution (“Plan”) [Doc. No. 118] and Amended Motion

to Approve an Initial, Interim Plan of Distribution [Doc, No. 132], which were

filed on December 9, 2016 and February 27, 2017, respectively. The Plan

authorized the Receiver to distribute a large portion of the amounts recovered

through pursuit of these claims and actions through a court approved

administrative claims process to defrauded investors with approved and authorized

claims. The Plan also provided a claim determination and classification based upon

the Rising Tide method with respect to each Claimant and identified the specific

amount each investor received subject to Court approval and consideration of any

objections. The Receiver sought permission from the Receivership Court to make

an initial distribution of over $1,600,000 to defrauded investors from the

Receiver’s collection and recovery efforts. Following consideration of several

objections, the Receivership Court ultimately approved the Receiver’s Plan of

Distribution, thereby authorizing an initial disbursement of $1,677,075.56.




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      On May 29, 2020, the Receiver filed his Notice of Second Interim

Distribution [Doc. No. 183] notifying this Court that he would be disbursing

$449,941.44 to Claimants with Approved Claims under the Plan of Distribution

previously approved by the Receivership Court. One of the reasons the Receiver

proceeded with a Second Interim Distribution at the time was the adverse financial

circumstances visited upon defrauded investors by the COVID-19 global

pandemic. On June 15, 2020, the Receiver and his staff sent disbursement checks

totaling $449,941.44 to Claimants with Approved Claims, thereby bringing the

total disbursements to Claimants with Approved Claims to date to $2,127,017.00

for a total reimbursement rate of 41.63% of the losses of defrauded investors with

Approved Claims.

      The Receiver’s collection efforts continue. Those efforts include efforts to

collect on the judgments the Receiver obtained against investors who profited from

the Receivership Defendants’ scheme, including Motions to Compel and Citations

for Contempt against Defendants who have not satisfied the judgments against

them. The Receiver’s collection efforts will proceed and culminate in an expected

third and final distribution to Claimants with Approved Claims.

      Since his appointment, the Receiver has been mindful of the need to balance

the interests of identifying and recovering assets through third-party actions against


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the costs of such efforts and the need to preserve Receivership assets. The Receiver

believes that a third and likely final distribution will take place after resolution of

the remaining collection actions.

                       Procedural and Factual Background

      On November 19, 2012, the U.S. Securities and Exchange Commission

(“SEC”) filed an application for a temporary restraining order and other equitable

relief, alleging that Defendants Billy Wayne McClintock, individually and doing

business as MSC Holdings (“McClintock”), and Dianne Alexander a/k/a Linda

Dianne Alexander (“Alexander”) were operating a type of Ponzi scheme known as

a “prime bank fraud” from 2002 to the present using entities called MSC Holdings,

Inc., MSC GA Holdings, LLC, and MSC Holdings USA, LLC (collectively “relief

defendants”).

      The SEC alleged that Defendants McClintock and Alexander raised over

$15 million from over 200 investors in more than 20 states, including Georgia, by

telling investors that their money would be placed with a clandestine overseas

entity that McClintock and Alexander refer to only as “the Trust.” McClintock and

Alexander misrepresented that the Trust would generate a return of at least 38

percent.




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      On the same day, November 19, 2012, this Court granted the SEC

application and entered an Order freezing assets of the Defendants, prohibiting the

destruction of documents, and granting additional relief.

      On February 11, 2013, the Court entered an Order appointing Jason L. Nohr

as Receiver (the “Order of Appointment”). The Order of Appointment grants the

Receiver access to assets, financial and bank accounts, and real property of the

Defendants, the directive to recover, conserve, and expand the assets of the

Receivership Estate, and, among other things, the authority to investigate and

prosecute claims of the Receivership Estate against third parties.

      The SEC’s application for a temporary restraining order and other equitable

relief determined that dozens of people received over four million dollars in so-

called “referral fees” as compensation for introducing new investors to the

Defendants’ scam, with such “fees” representing the ill-gotten gains that must be

returned and distributed to defrauded investors.

      On November 28 and 29, 2012, Defendants McClintock and Alexander

(respectively) consented to the entry of permanent injunctions against them and

agreed that the amount of disgorgement and civil penalties they would pay would

be determined at a later date.




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      Defendant Alexander subsequently moved to partially lift the asset freeze on

December 11, 2012 with respect to her monthly social security income and

amounts allegedly necessary for the payment of attorneys’ fees. On February 14,

2013, the Court entered an Order modifying the asset freeze to allow Defendant

Alexander to collect her monthly social security benefits.

                             The Receiver’s Activities

      Pursuant to the Court’s Order of Appointment, the Receiver was to file an

interim report within sixty (60) days addressing the Receiver’s investigation to

date, including identifying the assets and liabilities of the Receivership Defendants,

identifying assets held by others that may be recovered by the Receiver, and an

initial appraisal of the prospects for third party claims against those in possession

of assets of the Receivership Estate, including but not limited to those receiving

referral commissions and claims against investors who received more from the

illicit scheme than they invested.

      On April 15, 2013, the Receiver filed his First Interim Report pursuant to the

Court’s Order of Appointment. Since that time, the Receiver and his staff have

been diligently engaged in completing the tasks he has been assigned to

accomplish. The Receiver and his staff have continued to identify and work toward

recovering assets of the Receivership Estate. Their work has included determining


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whether the Defendants have assets of value that may be recovered and sold,

identifying where the Defendants transferred the money received from “investors”

as a result of their fraudulent activities, and investigating potential claims against

third parties. The Receiver has completed the initial investigatory phase of his

activities and has begun to pursue third party claims on behalf of the Receivership

Estate, as detailed in his June 14, 2013 Report and Recommendation to the Court.

      The following is a summary of the Receiver’s specific activities to date:

           Identified, located contact information, and presented notice of the

             receivership to fifty-eight (58) separate banking institutions in Florida,

             California, and nationally regarding potential accounts of the

             Defendants. The Receiver sent notice of the receivership and the asset

             freeze, along with requests for financial documents and records, to

             these financial institutions across the country and in proximity to the

             Defendants’ residential locations. Those notices identify the

             Receivership Defendants, the multiple other entities through which

             they operated, and demanded remittance of funds held in any

             Receivership accounts.

           Established three bank accounts in the name of the Receivership

             Estate.


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   The Receiver recovered assets belonging to the Receivership Estate

     pursuant to an alleged “donation” by Defendant Alexander to R&A

     Ministry, Inc. in the amount of $91,284.03. The transfer was made on

     November 29, 2012, in apparent violation of the Court’s Asset Freeze

     Order of November 19, 2012 and the consent to permanent injunction

     agreed to by Alexander on November 28, 2012. Upon demand by the

     Receiver for the return of the “donation,” Robert Rohm of R&A

     Ministry presented a check to the Receiver for those funds on March

     6, 2013. Those funds have been deposited in the Receivership

     Account.

   Filed timely Notices of the Receivership in multiple jurisdictions

     where third-party actions may later be necessary (pursuant to 28

     U.S.C. § 754) in the United States District Courts for the Middle

     District of Florida and the Southern, Eastern, and Central Districts of

     California.

   Reviewed voluminous banking records of two separate Wells Fargo

     accounts for Billy Wayne McClintock.




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   Contacted counsel for Defendant McClintock concerning failure to

     furnish financial documents and sworn statements required by the

     Court’s Order of Appointment.

   Investigated, researched, and identified real property in Florida,

     Georgia, and California belonging to Defendants McClintock and

     Alexander, including property purportedly transferred to various

     “trusts.” Located, contacted, and provided Notice of Receivership to

     the mortgage servicer (Cenlar FSB) for Defendant Alexander’s real

     property located at Lake Lanier.

   Performed title searches and filed lis pendens on real property

     belonging to Defendants Alexander and McClintock in Florida and

     Georgia.

   Reviewed the financial statement and financial documents provided

     by Defendant Alexander.

   Reviewed numerous documents for five separate accounts from Wells

     Fargo bank (including accounts for MSC Holdings and Linda Dianne

     Alexander).




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   Interviewed and reviewed documents provided by attorney William

     Slater Vincent concerning legal work for Defendant Alexander and

     the establishment of the “Grace Abounds Trust” and escrow account.

   Interviewed and reviewed documents provided by attorney Kimberly

     Scouller concerning legal work for Defendant Alexander and the

     establishment of the “Alexander Family Trust” and escrow account.

   Interviewed and reviewed all documents provided by Mitchell Davis

     regarding tax filings prepared for Defendant Alexander.

   Reviewed documents received from Fifth Third Bank for account of

     Defendant McClintock.

   Reviewed documents received from Bank of America for account of

     relief defendant MSC Holdings.

   Reviewed documents received from Cadence Bank for account of

     relief defendant MSC Holdings.

   Reviewed documents received from SunTrust Bank for account of

     relief defendant MSC Holdings.

   Reviewed documents for three separate accounts from BB&T Bank

     for accounts held by Defendants McClintock and Alexander and

     Relief Defendant MSC Holdings.


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   Reviewed statements from JP Morgan Chase for credit accounts held

     by Defendants Alexander and McClintock.

   Sent Notice of Receivership and demanded the production of

     information and documents to Paradise Holdings, LLC, an entity that

     received $400,000 from MSC Holdings in 2007.

   Engaged in ongoing communications with defense counsel regarding

     the location, value, and potential sale of Defendant Alexander’s

     personal assets, including two automobiles, located in Carlsbad,

     California. Engaged in communications with and provided Notice of

     Receivership to the landlord for Defendant Alexander’s rental

     property in Carlsbad, California to ensure non-destruction of personal

     property during eviction proceedings.

   Presented Notice of Receivership and requested documents and

     information to Cloud Resources (regarding precious metals purchased

     by Defendant Alexander), Norman Dadian (former trustee for “Grace

     Abounds Trust” established by Defendant Alexander), Jade Law

     Offices (regarding “Grace Abounds Trust”), William Steckley and

     Anthony Dupont (former trustees for “The Promise Land Trust”

     established by Defendant McClintock), Charles Williams (current


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     trustee for “The Promise Land Trust”), and the law offices of

     Williams & Davis (regarding “The Promise Land Trust”).

   Sent Notice of Receivership and asset freeze letters to Learn

     Waterhouse Receivership (subject to a potential claim of recovery by

     Defendant Alexander), First Choice Management Service (a

     receivership subject to a potential claim of recovery by Defendant

     Alexander), and Hide Away Storage (holding potential personal

     property of Defendant McClintock).

   Established a dedicated portion of the Receiver’s law firm website to

     keep future claimants informed as to status of the ongoing litigation

     and the receivership estate.

   Continuously updated information and documents to the dedicated

     portion of the Receiver’s website, including court orders and the

     Receiver’s interim reports.

   Compiled a detailed list of transactions evidencing the fraudulent

     transfer of funds from the Trust to Defendant Alexander.

   Communicated with investors and organized contact information and

     amounts paid to and received from the Defendants.




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   Reviewed and organized data concerning “referral fees” paid by the

     Defendants to individuals as an incentive to increase the number of

     “investors” in the Defendants’ Ponzi scheme.

   Deposed Defendant Alexander.

   Located and recovered a portion of the precious metals (including

     gold, silver and palladium coins, and silver bars) that Defendant

     Alexander purchased with Receivership assets from National

     Numismatic Associates (“NNA”).

   Obtained three independent appraisals of the precious metals

     recovered from Defendant Alexander.

   Researched market conditions for the sale of precious metals.

     Secured a buyer for and completed the sale of the precious metals

     recovered from Defendant Alexander resulting in recovery of

     $322,114.75 for the Receivership Estate. Those funds have been

     deposited into the Receivership Account.

   Submitted the Receiver’s first fee application to the SEC for approval

     on July 15, 2013 for the initial phase of the Receiver’s activities in

     this case.




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   Reviewed documents from Wells Fargo Bank for account held in the

     name of Paradise Holdings under the control of Defendant

     McClintock.

   Conducted research to locate All Big Ten, Inc., recipient of checks

     totaling $285,000 written from Paradise Holdings’ Wells Fargo

     account.

   Conducted telephone interview with the owner/controller of All Big

     Ten, Inc. regarding money received from Paradise Holdings.

   Investigated Kentucky property records pursuant to investigatory

     leads to determine if Defendant McClintock acquired any such real

     property in Kentucky.

   Received and thoroughly reviewed statements for American Express

     accounts held by Defendants.

   Prepared and mailed certified letters to 96 individual and corporate

     entities to verify money paid in to and received out of MSC Holdings.

   Spoke with numerous investors regarding certified letters they

     received from the Receiver and status of case.

   Received and reviewed documents from numerous investors disputing

     information contained in certified letters.


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   Compiled, organized, and compared data and documents received

     from investors against that which the Receiver has already compiled

     to determine the amounts actually paid and received for a future

     claims process and proceeding with third party claims.

   Compiled documents and information pertaining to the transfer of

     funds from MSC Holdings to Defendant McClintock.

   Filed a claim with the court appointed Receiver for Zeek Rewards

     (Rex Venture Group) for funds fraudulently transferred by Defendant

     Alexander resulting in recovery of $24,345.94for the Receivership

     Estate. Those funds were deposited into the Receivership Account.

   Located additional bank accounts under the control of Defendant

     McClintock and after discovering that those accounts were held at

     banks that failed, requested copies of those banking records from the

     FDIC.

   Continued comparison of information provided by Defendant

     Alexander to bank records obtained by Receiver to verify exact

     amounts paid to and received from Investors.




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   Thoroughly reviewed documents from the FDIC for failed banks

     where Defendant McClintock and Defendant MSC Holdings held

     accounts.

   Compiled documents and information for demand letter to investors

     who received “false profits” and “referral fees.”

   Prepared and mailed letters to 96 individuals who received “false

     profits” totaling $3,463,478 and “referral fees” totaling $3,247,011.

   Received numerous letters and inquiries from investors and attorneys

     regarding Receiver’s demand for return of “false profits” and “referral

     fees.”

   Talked to numerous investors and attorneys for investors concerning

     demand letters regarding repayment of “false profits” and “referral

     fees” to the Receivership Estate.

   Prepared responses to letters and inquiries from investors and

     attorneys for investors regarding repayment of money to the

     Receivership Estate, including conducting legal research to explain

     the legal bases for the Receivership’s recovery efforts and legal action

     against investors who received “false profits” and “referral fees.”




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   Received checks totaling $1,152,581 from investors for the return of

     “false profits” and “referral fees” to the Receivership Estate prior to

     commencement of litigation against those investors. Those funds

     have been deposited into the Receivership Account.

   Compiled extensive information, documents, spreadsheets, and the

     Receiver’s Declaration to support the SEC’s motion for disgorgement

     against Defendants Alexander and McClintock.

   Located and contacted utility companies providing service to the

     residences of Defendants Alexander and McClintock requesting

     payment information to obtain additional banking information for

     both Defendants.

   Sought reappointment by this Court in order to file Notices of

     Receivership in twenty-three (23) separate federal districts to pursue

     third party claims for recovery.

   Submitted the Receiver’s second fee application to the Court for

     approval on July 7, 2014 for his work in collecting over $1,000,000 in

     third party claims owed to the Receivership Estate.

   Filed Notices of Receivership in twenty-three (23) separate federal

     districts to pursue third party claims for recovery.


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   Prepared a Complaint against over eighty-one (81) investors who

     received “false profits” and/or “referral fees” to recover funds owed to

     the Receivership Estate.

   Conducted extensive research to locate and verify physical addresses

     for eighty-one (81) individuals who received “false profits” and/or

     “referral fees” from the Ponzi scheme run by Defendants Alexander

     and McClintock.

   Conducted extensive research to determine the federal districts of the

     defendants to be named in the Receiver’s third-party action for

     recovery of “referral fees” and “false profits”.

   Filed a Complaint on August 26, 2014 with this court against eighty

     (80) individual defendants who received “false profits” and/or

     “referral fees” from the Ponzi scheme.

   Served notice on the Defendants named in the Receiver’s Complaint

     requesting Waiver of Service pursuant to Rule 4 of the Federal Rules

     of Civil Procedure.

   Received and filed fifteen (15) Waiver of Service of Summons forms

     with this Court.




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   Prepared and submitted two declarations in support of the SEC’s

     Motion for Summary Judgment against Defendants Alexander and

     McClintock for disgorgement penalties.

   Located process servers throughout the United States to perfect

     service on sixty-five (65) Defendants.

   Prepared service documents for those Defendants who refused to

     acknowledge service.

   Perfected service on over seventy (70) Defendants named in the

     Receiver’s Complaint and filed the corresponding Proof of Service

     forms with this Court.

   Continued efforts to serve the few remaining Defendants where

     service has not been perfected.

   Submitted the Receiver’s third fee application to the Court for

     approval on September 10, 2015 for his work in preparing, filing, and

     serving his Complaint against seventy (70) Defendants pursuing

     return of referral fees and false profits for the Receivership Estate.

   Settled claims against twenty-six (26) Defendants resulting in

     payments to the Receivership Estate totaling $694,872 with said funds

     deposited into the Receivership Account.


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   Participated in a mediation involving fifteen (15) defendants

     successfully settling with nine (9) of the participants.

   Filed forty (40) responses and replies to separate motions and

     responses, including Motions to Dismiss, filed by Defendants in the

     Receiver’s clawback actions filed in this Court.

   Prepared and filed an Amended Complaint in this Court in the

     Receiver’s third-party action.

   Prepared and filed the Joint Discovery Plan and Initial Disclosures as

     required by this Court in the Receiver’s third-party action.

   Submitted the Receiver’s fourth fee application to the Court for

     approval on March 22, 2016 for his work in defending and settling

     portions of the Receiver’s Complaint filed against seventy (70)

     Defendants that received false profits and referral fees and made

     approved distributions to the court authorized forensic accountant and

     litigation counsel.

   Prepared and filed a Motion in Support of Entry of Default Judgment

     and Brief in Support (with supporting Declaration by Receiver)

     against thirty-five (35) Defendants who had not answered the

     Complaint served upon them.


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   Obtained Default Judgment against twenty-eight (28) Defendants

     totaling $1,769,393.

   Obtained Certified Abstracts of Judgments against Defendants in

     default from the Clerk’s office.

   Initiated proceedings in multiple states, including Georgia, to collect

     judgments the Receiver obtained against multiple Defendants,

     including perfecting liens upon real property owned by Defendants.

   Collected $634,459 from eighteen (18) Default Defendants with said

     funds deposited into the Receivership Account.

   Hired a private investigator to assist in locating assets of Default

     Defendants.

   Sent letters to six (6) banks to locate assets of Default Defendants.

   Litigated clawback actions against remaining Defendants (not in

     default and who did not settle) culminating in Motions for Summary

     Judgment (including multiple declarations) before the Receivership

     Court.

   Entered an appearance in Eleventh Circuit appellate proceedings

     initiated by a Default Defendant who filed a Notice of Appeal to

     oppose appeal and defend default judgment.


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   Filed a Motion for Contempt against Defendant Alexander for her

     failure to follow this Court’s Order regarding surrender of real

     property.

   Prepared and filed a Response in Opposition to HSBC/SLS’s Motion

     to Intervene and Modify Asset Freeze to foreclose on the Rebel Road

     real property and negotiated with HSBC/SLS’s counsel regarding all

     issues relating to the property.

   Began leasing the property located on Rebel Road in Cumming,

     Georgia resulting in collection of $28,500 in rental payments. Those

     funds have been deposited into the Receivership Account.

   Began the appraisal process for selling the real property located on

     Middlecreek Way in Cumming, Georgia.

   Interviewed and hired a forensic accountant and fraud examiner to

     examine bank records obtained for Defendants and Relief Defendants

     to provide expert opinion supporting Ponzi scheme presumption.

   Consulted with and assisted in preparation of expert report by forensic

     accountant and service of report upon all remaining Defendants in

     clawback litigation.




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   Prepared Receiver’s expert witness and forensic accountant for

     discovery deposition and defended discovery deposition in Statesboro,

     Georgia.

   Prepared and filed Supplemental Initial Disclosures as required by this

     Court in the Receiver’s clawback actions.

   Prepared and filed a Proof of Claim form with this Court for approval.

   Mailed 152 Proof of Claim packages to potential claimants seeking

     reimbursement from the Receivership Estate.

   Received, reviewed, and archived 130 Proof of Claim packages for

     further approval in the claims process.

   Verified documents and claim forms for 89 timely filed Proof of

     Claim packages.

   Prepared and filed with this Court the Receiver’s Motion to Approve

     Plan of Distribution and First Interim Distribution.

   Prepared and filed with this Court the Receiver’s Motion for Order

     Establishing Deadline for Filing Objections to Receiver’s Plan of

     Distribution.

   Received documents from various claimants in response to Receiver’s

     Motion to Approve Plan of Distribution.


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   Submitted the Receiver’s fifth fee application to the Court for

     approval on January 20, 2017 for his work in defending and settling

     claims against Defendants totaling $307,065, for his work in receiving

     and verifying all timely filed claims packages, and for preparation of

     the Plan of Distribution.

   Deposited additional funds into Receivership bank account of

     amounts collected from outstanding judgments and preparation and

     filing of Stipulations of Dismissal for resolved collection cases

     involving satisfied judgments.

   Hired a CPA and compiled the documents and information necessary

     to file all required Receivership tax returns.

   Prepared and filed with this Court the Receiver’s Amended Motion to

     Approve Plan of Distribution and First Interim Distribution.

   Prepared and filed with this Court the Receiver’s Amended Motion

     for Order Establishing Deadline for Filing Objections to Receiver’s

     Plan of Distribution.

   Prepared and filed a Response to HSBC’s Renewed Motion to

     Intervene and Modify Asset Freeze to foreclose on the Rebel Road

     real property.


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   Negotiated with HSBC/SLS’s counsel a settlement of the outstanding

     lien amounts placed upon the Rebel Road property by HSBC/SLS

     arising from their intervention activities and mortgage and security

     deed on the Rebel Road real property.

   Negotiated a sale of the Rebel Road real property resulting in a net

     recovery to the Receivership Estate of $117,402.74. Those funds

     have been deposited into the Receivership Account.

   Obtained a real estate agent and prepared the Middlecreek Way

     property for sale. Received multiple offers and negotiated a sales

     contract of the Middlecreek Way real property for $345,000.

   Moved for and obtained Court approval to proceed with the sale and

     closing of the Middlecreek Way real property.

   Began transfer of the property title for the Braden Run property to the

     Receivership Estate.

   Attended a mediation before a United States Magistrate Court judge

     of the Receiver’s claims against Frank and Teresa Vogel in Case No.

     1:14-cv-02761-SCJ.

   Prepared for trial, including preparation of a Consolidated Pre-trial

     Order, in the action against Frank and Teresa Vogel.


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   Prepared multiple responsive pleadings to Promise Land Trust’s

     Motion to Set Aside Judgment awarding possession of Defendant

     McClintock’s Bradenton, Florida property to Receivership, including

     Response to Motion to Set Aside Judgment in August of 2017, Motion

     to Strike Reply to Response to Motion, Receiver’s Motion to Strike

     Promise Land Trust’s Improper Declaration Submitted in Reply Brief

     and Motion to Intervene in September of 2017, and Response to

     Motion to Intervene in April of 2018. Communicated with United

     States Marshall’s Office in Middle District of Florida throughout this

     time period regarding Bradenton, Florida property. Awaited Court’s

     ruling on Receiver’s opposition to pending Motion to Set Aside

     Judgment in order to dispose of and liquidate Bradenton, Florida real

     property previously owned by Defendant McClintock and distribute

     assets through administrative claims process.

   Issued seventy-two (72) checks distributing $1,677,075.56 to

     defrauded investors of the Defendants’ Ponzi scheme.

   Prepared Declarations in support of Notices of Filing Consent to

     Judgment by MSC Holdings USA by Securities & Exchange

     Commission.


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   Communications with and direction over successful and ongoing

     collection efforts by Busch, Reed, Jones & Leeper, P.C. regarding

     multiple judgments from judgment debtors. Additional research and

     investigation on recoverable assets and whereabouts of judgment

     debtors.

   Began leasing the property located on Braden Run in Bradenton,

     Florida resulting in collection of $16,181 in rental payments. Those

     funds have been deposited into the Receivership Account.

   Litigated and opposed The Promise Land Trust’s Motion to Set Aside

     the judgments giving the Bradenton, Florida real property previously

     owned by Defendant McClintock to the Receivership.

   Defeated The Promise Land Trust’s Motion to Set Aside the

     judgments giving the Bradenton, Florida real property previously

     owned by McClintock to the Receivership, resulting in an Order by

     the Receivership Court confirming that the real property was properly

     secured by the Receiver and authorizing him to take steps to ready the

     property for sale.




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   Arranged for four (4) independent appraisals of the Braden Run real

     property to determine the minimal amount necessary for Court

     approval of any private sale of the property.

   Collected written reports of independent appraisers necessary to

     obtain approval from the Receivership Court for private sale of the

     Braden Run real property.

   Paid ongoing maintenance and insurance costs and taxes for the

     Braden Run real property necessary to preserve the asset for ultimate

     private sale.

   Obtained a real estate agent to market and sell the Braden Run real

     property.

   Per recommendations of real estate agent, took steps to prepare the

     Braden Run property for a private market sale, including undertaking

     necessary repairs and improvements to the house and property to

     obtain an optimal sale price balanced against the costs of such

     undertakings.

   Filed multiple Motions to Compel with the Receivership Court in

     collection actions against Defendants who have not satisfied the

     judgments against them.


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   Filed multiple Motions for Citation of Contempt with the

     Receivership Court in collection actions against Defendants who have

     not satisfied the judgments against them.

   Obtained professional opinion of real estate agent concerning current

     condition of Bradenton, Florida real estate market and impact of

     COVID-19 global pandemic and related economic downturn upon

     private sale of Braden Run real property.

   Sold the Braden Run real property collecting $304,668.26 for the

     Receivership.

   Sent asset freeze letters to seventeen (17) separate banks in the

     Daytona Beach, Florida area to locate bank assets belonging to a

     default Defendant.

   Issued seventy-eight (78) checks distributing $449,941.44 to

     Claimants with Approved Claims during Second Interim Distribution

     under approved Plan of Distribution.

   Proceeded with various hearings on Motions to Compel before the

     Receivership Court against judgment creditors and Defendants in

     claw-back actions to collect on judgments against those who profited

     from the Receivership Defendants’ Ponzi scheme.


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          Engaged in asset searches with dozens of banks and financial

             institutions to collect on judgments against those who profited from

             the Receivership Defendants’ Ponzi scheme.

                              The Receiver’s Report

      The Receiver is engaged in all of the foregoing activities to date in order to

identify and recover assets and timely complete the tasks set forth in the Order of

Appointment. As of April 19, 2021, the cash on hand in the Receivership’s bank

accounts totals $765,728.50. In pursuit of identifying and recovering assets and

pursuing litigation against those individuals who benefited from the Receivership

Defendants’ Ponzi scheme and in processing the first and second interim

distributions to defrauded investors, the Receivership Estate has disbursed a total

of $49,875.60 in expenses to date.

      The Receivership Estate paid $4,769.87 to SLS for the outstanding amounts

for property insurance and other expenses relating to the Rebel Road real property,

pursuant to this Court’s September 15, 2015 Order regarding HSBC’s Motion to

Intervene. The Receivership Estate paid $4,900.87 in expenses to maintain, repair,

improve, and sell the real property located at 2697 Middlecreek Way. The

Receivership Estate paid $10,718.81 in property taxes for the property located in




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Bradenton, Florida. The Receivership Estate paid $21,946.76 in expenses to

maintain and sell the real property located in Bradenton, Florida.1

      In light of the events associated with the onset of the COVID-19 global

pandemic, the Receiver made the decision to delay the sale of the Braden Run

property to maximize the return to the Receivership. By delaying the sale until the

summer of 2020, the Receiver was able to increase the proceeds for the sale of the

Braden Run property.

      The Receiver anticipates a third and potentially final distribution to follow at

some later time after resolution of the remaining collection actions.

      Respectfully submitted this 29th day of April, 2021.

                                              CAUTHORN NOHR & OWEN

                                               /s Jason L. Nohr
                                              Georgia Bar No. 545435
                                              Receiver for MSC Holdings

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jln@cauthornnohr.com




1
 The total expenses for Braden Run to date are as follows: $12,205.98 for repairs
and improvements; $6,266.29 for insurance; $1,750 for appraisals; and, $1,724.49
for utilities.

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                          CERTIFICATE OF SERVICE

      This certifies that I have this day served a copy of the foregoing Receiver’s

Sixteenth Interim Report via the CM/ECF electronic filing system which will send

notice of such filing to counsel of record.

      This 29th day of April, 2021.

                                                /s Jason L. Nohr
                                               Georgia Bar No. 545435
                                               Receiver for MSC Holdings

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